                                                                       FILED
                                                                   Aug 20 2024, 3:15 pm

                                                                       CLERK
                                                                   Indiana Supreme Court
                                                                      Court of Appeals
                                                                        and Tax Court



                                IN THE

         Indiana Supreme Court
       Iris Seabolt, Supreme Court Case No. 24S‐PC‐270,
     Reginald Dillard, Supreme Court Case No. 24S‐PC‐271,
       Leon Tyson, Supreme Court Case No. 24S‐PC‐272,
 and Pink Allen Robinson, Supreme Court Case No. 24S‐PC‐273,
                                  Appellants,

                                     –v–

                           State of Indiana,
                                   Appellee.


             Argued: January 25, 2024 | Decided: August 20, 2024

                   Appeals from the Elkhart Circuit Court
Nos. 20D03‐2106‐PC‐19, 20D03‐2207‐PC‐19, 20D03‐1807‐PC‐37, 20C01‐2012‐PC‐41

                   The Honorable Teresa L. Cataldo, Judge

          On Petitions to Transfer from the Indiana Court of Appeals
           Nos. 22A‐PC‐208, 23A‐PC‐261, 22A‐PC‐143, 22A‐PC‐1102



                         Opinion by Justice Molter
             Chief Justice Rush, Justices Massa and Goff concur.
                      Justice Slaughter not participating.
Molter, Justice.

   These four interlocutory appeals require us to decide whether a judge’s
decision to recuse from a prior case disqualifies her from presiding over
these cases because they all present the same concerns that led her to
recuse in the prior case.1

   Andrew Royer was the petitioner in the previous case, and he sought
post‐conviction relief to set aside his 2005 murder conviction. He alleged
that “systemic” police and prosecutorial misconduct had produced an
“epidemic” of wrongful convictions in Elkhart County, including his own.
Shortly after Royer first made these allegations, his attorney held a press
conference amplifying them through comments that the judge concluded
violated the Rules of Professional Conduct. That led the judge, who is a
former Elkhart County deputy prosecutor, to not only enjoin the
attorney’s further public comments about the case, but also to remark that
the attorney’s comments were “defamatory.”

   Royer then argued, and the judge agreed, that the judge had to recuse
for one of, or a combination of, two reasons. Royer said he would be
calling many witnesses—law enforcement officers, deputy prosecutors,
and an elected prosecutor—with whom the judge worked when she was a
deputy prosecutor and some of whom remained the judge’s social
acquaintances. She could not, Royer argued, be expected to remain
impartial either when evaluating so many of her friends’ and former
colleagues’ credibility or when evaluating Royer’s allegations of systemic
police and prosecutorial misconduct that spanned the judge’s own time as
a deputy prosecutor in Elkhart County. Even if that were not reason
enough to recuse, Royer also argued that the judge’s characterization of




1 The Court of Appeals’ motions panel consolidated these appeals, and the writing panel then
severed them. We heard oral argument in the Seabolt, Tyson, and Robinson appeals jointly
and held the Dillard appeal, which had a later transfer request, in abeyance. We now grant
transfer in all four cases and decide them through this opinion.


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his attorney’s comments as “defamatory” suggested she had pre‐judged
his allegations of systemic misconduct before hearing any evidence.

   Each of the appellants here petitioned for post‐conviction relief before
the same judge who recused in Royer’s case. Royer’s attorney represents
them too, and they allege the same sort of “systemic” misconduct that
they claim has led to an “epidemic” of wrongful convictions. And like
Royer, they intend to call as witnesses former law enforcement officers
and prosecutors who are the judge’s former colleagues and/or current
social acquaintances.

  But unlike in Royer’s case, the judge declined to recuse in these cases.
And as we explain below, we conclude that was a mistake. We hold that
the judge is disqualified from presiding over these cases because her
determination that recusal was mandatory in Royer’s case would lead an
objective observer to reasonably question her impartiality in these cases,
where the petitioners raised the same concerns as Royer.


Facts and Procedural History

I.    Royer’s Proceedings
   Andrew Royer’s post‐conviction relief proceedings are the backdrop to
these four appeals. He and Lana Canen were tried together, convicted,
and sentenced to fifty‐five years of incarceration for murdering Helen
Sailor. State v. Royer, 166 N.E.3d 380, 386, 387 (Ind. Ct. App. 2021). But the
State agreed to set aside Canen’s conviction when she discovered new
evidence proving the State’s forensic expert testified falsely when he
claimed that a latent fingerprint discovered at the crime scene belonged to
Canen. Id. at 387.

    Royer then sought to set aside his conviction by filing a Trial Rule 60(B)
motion for relief from judgment. (He had previously exhausted his rights
to a direct appeal and post‐conviction relief proceedings.) And when he
filed that motion, one of his attorneys held a press conference explaining
Royer’s allegations that the county’s criminal justice system had failed


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Royer. Those comments included alleging a “systemic failure and an
epidemic in Elkhart County where people [were] wrongfully convicted
because of police corruption, uninspiring defense counsel and an
overzealous prosecutor,” which the attorney said “contributed to Andrew
Royer being wrongfully convicted of a murder that he [was] absolutely
innocent of.” App. Vol. III at 57 (quotations omitted). And he said that he
had “proven that [Royer’s] conviction was an absolute fraud and the
conviction was based on intentional misconduct.” Id. (quotations omitted).

   The State sought to enjoin Royer’s attorney from making further public
comments about the case, arguing that his press conference remarks
violated Indiana Professional Conduct Rule 3.6’s restrictions on
extrajudicial comments.2 The judge agreed, and following a hearing, she
enjoined Royer’s attorney and the State “from making extrajudicial
commentary and statements” about the pending proceedings. Id. at 59.
Explaining her reasoning, the judge described the press conference
comments as “highly inflammatory, defamatory, inaccurately stat[ing] the
law as it exist[ed] at th[e] time with respect to Royer’s conviction, and
draw[ing] legal conclusions about matters not yet adjudicated.” Id. at 57.

   Shortly after, Royer withdrew his Trial Rule 60(B) motion, seeking
instead permission to file a successive petition for post‐conviction relief.
He argued, like Canen did, that newly discovered evidence warranted
setting aside his conviction. Royer, 166 N.E.3d at 387. And after the Court
of Appeals granted his request to file a successive petition, his petition
was assigned to the same judge who entered the injunction.

  Royer then filed a “Motion for Recusal Pursuant to Indiana Post‐
Conviction Rule 1 § 4(B).” App. Vol. III at 196–204. He gave two
overarching reasons. The first was that he would be calling many
witnesses with whom the judge worked when she was a deputy




2The Disciplinary Commission dismissed the prosecutor’s subsequent disciplinary complaint
without requiring Royer’s attorney to respond, concluding that the complaint did “not rais[e]
a substantial question of misconduct that would warrant disciplinary action.” App. Vol. IV at
26.


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prosecutor and some of whom remained social acquaintances. And she
could not be expected to remain impartial either when evaluating their
credibility or when evaluating Royer’s allegations of systemic police and
prosecutorial misconduct that spanned the judge’s own time as a deputy
prosecutor. Second, Royer believed the judge’s characterization of his
attorney’s comments as “defamatory” reflected that she had rejected his
allegations of “system[ic]” police and prosecutorial misconduct before she
heard any evidence. Id. at 201 (quotations omitted).

   The judge granted Royer’s motion, and his case was reassigned to a
special judge in another county. The special judge ultimately granted
Royer’s successive petition for post‐conviction relief, vacating his
conviction. Royer, 166 N.E.3d at 397. The special judge concluded that
many of Royer’s allegations of misconduct were well‐founded. Id. at 389–
97.

  A key witness in Royer’s trial had been Canen’s neighbor, Nina Porter,
who testified that Canen had made incriminating statements to her. Id. at
384, 386. She also testified at trial that Royer—a severely mentally
disabled individual who lived in Sailor’s apartment complex—was easily
influenced by Canen, which supported the State’s theory that Royer was
the “brawn” for Canen’s plan to rob and murder Sailor. Id. at 383–84, 386–
87, 394 (quotations omitted). But the post‐conviction proceedings revealed
that Porter “implicated Canen in the Sailor murder only because Detective
Carl Conway threatened her with prison time and the removal of her
children if she did not cooperate.” Id. at 388. Detective Conway also “fed
her information about the Sailor homicide during the unrecorded portions
of the interview.” Id. And Porter revealed that detectives notified her
about a $2,000 reward that had been offered for information about the
murder, with one of the detectives delivering the reward money to her
following her testimony at Royer and Canen’s trial. Id.

    As for the latent fingerprint at the crime scene—which the State said in
its closing argument was the “most important piece of evidence” in the
case because it was the only physical evidence linking Canen to the crime
(there was none linking Royer)—it belonged instead to one of Sailor’s
healthcare aides. Id. at 387 (quotations omitted). The forensic specialist


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who falsely testified that the fingerprint belonged to Canen admitted his
mistake years later, explaining that he didn’t have the necessary training
to compare latent fingerprints but felt pressured by the police department
to make the comparison anyway. Id. at 398. And he misled the prosecutor
to believe he was qualified to compare latent fingerprints, so the
exculpatory and impeachment evidence of his lack of qualifications was
not disclosed to the defense. Id. at 389.

   Another key element of the prosecution was that Detective Conway
testified that Royer confessed to him and shared information about the
murder that had not been disclosed to the public. Id. at 386–87. But that
evidence fell apart in the post‐conviction proceedings too. The newly
discovered evidence in those proceedings revealed that Detective Conway
had been informed that Royer was severely disabled with “the mind of a
child,” yet the detective took no precautions to guard against a false
confession during a two‐day interrogation. Id. at 394. Just the opposite, he
fed Royer details of the crime in an unrecorded interview before Royer
then incorporated those details into his later recorded confession. Id. at
395–96. And another detective who observed the interrogation testified in
Royer’s post‐conviction proceedings that it was one of the worst
interrogations he witnessed in his career, including because it was “super‐
leading.” Id. at 396 (quotations omitted). The State also failed to disclose
that Detective Conway was removed from the homicide unit before
Royer’s trial because his supervisors had concerns about his past
misrepresentations in another case and the potential impact those
misrepresentations would have on his credibility at trials when called to
testify. Id. at 391–92.

   The petitioners here believe Royer’s and Canen’s exonerations are just
the tip of the iceberg, and they point to other recent decisions setting aside
convictions in Elkhart County, which they describe as including: the 2006
exoneration of Christopher Parish for armed‐robbery and attempted
murder convictions; a 2017 actual innocence pardon of Parish’s
codefendant, Keith Cooper; Mack Sims’ 2019 exoneration for a 1993
murder after it was revealed that the police department withheld evidence
that the victim only identified the shooter after being placed under
hypnosis; and the Seventh Circuit’s decision in 2022 granting habeas relief

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to Dewayne Dunn based on ineffective assistance of counsel. See Lara
Bazelon, Ending Innocence Denying, 47 Hofstra L. Rev. 393, 484 n.713, 484–
85 (2018) (describing Christopher Parish’s and Keith Cooper’s cases and
citing the National Registry of Exonerations); Sims v. Hyatte, 914 F.3d 1078,
1091–92 (7th Cir. 2019) (granting habeas relief); Dunn v. Neal, 44 F.4th 696,
706, 710 (7th Cir. 2022) (granting habeas relief).

   The petitioners believe their cases reflect more of the same.


II. These Four Appeals

      A. Petitioners’ Post‐Conviction Relief Allegations


            1.     Iris Seabolt

   Iris Seabolt alleges she was wrongfully convicted of the August 2000
murder of A.J. Williams. No physical evidence linked Seabolt to the crime,
and her conviction, she argues, depended on witness statements that
Detective Stephen Rezutko obtained. She alleges Detective Rezutko had a
practice of fabricating false statements leading to wrongful convictions,
and four witnesses in her case have now recanted. She says Detective John
Faigh has revealed he caught Detective Rezutko providing portions of the
investigative file to a jailhouse informant to fabricate a witness statement.
And Detective Faigh withdrew from the investigation after his report of
Detective Rezutko’s misconduct didn’t lead to any disciplinary action,
although none of this was ever revealed to Seabolt. Detective Rezutko was
also eventually forced to resign after an internal investigation concluded
he paid informants and witnesses for sexual acts, and Seabolt alleges that
misconduct motivated his efforts to frame her because he had a paid
sexual relationship with two alternate suspects.

    Seabolt also claims that multiple members of the prosecutor’s office
were involved in withholding exculpatory evidence, fabricating false
statements, and suborning perjured testimony at her trial. And she alleges
that many of the officers involved in her investigation were part of a white
supremacist group of officers known as the “Wolverines,” which a former

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police chief has alleged formed a “code of silence” to cover up
misconduct. App. Vol. VIII at 172 (quotations omitted). The judge’s ex‐
husband was a former Elkhart Police Department reserve officer who has
also corroborated some of Seabolt’s allegations about the Wolverines.


            2.     Reginald Dillard

   In 2000, a jury convicted Reginald Dillard of the August 1998 murder of
Christopher Thomas. Like Seabolt, Dillard claims that no physical
evidence tied him to the crime and that his conviction depended on
witness statements that Detective Rezutko and other Elkhart County
police officers allegedly coerced. He alleges this followed Detective
Rezutko’s practice of fabricating false statements to force wrongful
convictions. Dillard also highlights Detective Rezutko’s resignation due to
paying informants and witnesses for sexual acts, and Dillard claims that
misconduct led the detective to frame Dillard because the detective had a
paid sexual relationship with a key witness against Dillard.

   Dillard further alleges members of the prosecutor’s office withheld
exculpatory evidence and misrepresented to the jury that trial witnesses
weren’t receiving consideration for their testimony. The withheld
exculpatory evidence allegedly included a phone call police received the
day after Dillard’s conviction from a woman claiming her husband and
brother‐in‐law murdered Thomas because Thomas had acted as a police
informant against her husband. Dillard also asserts many of the officers
involved in his investigation were part of the Wolverines.


            3.     Leon Tyson

   Leon Tyson asserts he was wrongfully convicted of the 2015 murder of
Tommie Lee Strowder. As support, he alleges the State’s case against him
“was exceedingly thin,” with eyewitness descriptions of Strowder’s
murderer not matching Tyson and the case revolving almost entirely
around the testimony of one witness. Appellants’ Br. at 16.

  But now, Tyson argues, three new pieces of evidence show that
someone else murdered Strowder. First, he claims a witness to Strowder’s

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murder provided a description of the murderer that matches the
individual Tyson alleges committed the murder and does not match
Tyson. Second, Tyson alleges a second witness has revealed that after the
murder: (1) she saw the alternate suspect with blood on his hands; (2) the
alternate suspect confessed to her; and (3) she saw and heard the alternate
suspect dispose of the murder weapon and acknowledge doing so. Third,
the alternate suspect allegedly confessed to his mother about committing
the crime, and his mother saw him with blood on his shoes after the
murder. Like Seabolt and Dillard, Tyson argues the State hid this
information from him.


            4.     Pink Allen Robinson

   In 2018, after a women’s clothing store in Elkhart was robbed, a jury
convicted Pink Allen Robinson of three counts of robbery with a deadly
weapon. Robinson argues he was wrongfully convicted, and he focuses on
alleged misconduct by Detective Conway, who was the lead investigator
in his case. Robinson asserts the State relied heavily on Detective
Conway’s credibility at trial but failed to disclose Detective Conway’s
disciplinary history for making misrepresentations in past cases. And he
points out that Detective Conway’s disciplinary history went further in his
case than in Royer’s because Detective Conway had also been removed
from the sex crimes unit in 2012. That removal, Robinson alleges, led the
prosecutor’s office to state in a letter that it had lost faith in the police
department and its ability to supervise its detectives and perform other
police activities. Like the other petitioners, Robinson alleges all this
information was withheld from him.


      B.    Petitioners’ Recusal Requests

   All four petitioners asked the judge to recuse from their case. Each cited
Post‐Conviction Rule 1(4)(b) as the basis for their request, and they gave
essentially the same two overarching reasons for questioning the judge’s
impartiality as Royer argued.




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   First, they argued the judge—who was an Elkhart County deputy
prosecutor from 1998 to 2002—is deeply entangled with the evidence they
intend to develop and introduce. The petitioners all intend to call as
witnesses many police officers and prosecutors with whom the judge
worked—some of whom the petitioners believe remain the judge’s social
acquaintances—to prove that the petitioners’ wrongful convictions
resulted from what they characterize as rampant police and prosecutorial
misconduct that was ongoing during the judge’s time as a deputy
prosecutor. The petitioners also plan to seek discovery directly from the
judge and possibly call her as a witness related to her knowledge of facts
surrounding Detective Rezutko’s resignation, whether she was involved
in a Brady violation that Seabolt claims contributed to her wrongful
conviction, and her general knowledge of the practices in the prosecutor’s
office that relate to the petitioners’ claims of misconduct. The petitioners
anticipate calling two of the judge’s Elkhart County judicial colleagues as
witnesses. And they intend to call the judge’s ex‐husband as a witness
because they claim he was a former Elkhart County reserve officer with
extensive knowledge of the misconduct they allege and has provided an
affidavit and recorded interview alleging systemic misconduct.

  Second, the petitioners argued that in Royer’s case the judge
characterized their theory of the case as “defamatory,” which suggests she
has pre‐judged their allegations of systemic misconduct leading to an
epidemic of wrongful convictions before hearing any evidence.

  The judge denied all four requests to recuse. As to her alleged
entanglement with the petitioners’ evidence, the judge explained that the
simple fact that she previously worked with the witnesses while a deputy
prosecutor did not require her to recuse from post‐conviction proceedings
involving her former office. She also concluded that her ex‐husband’s
involvement as a witness in these cases similarly did not require recusal
because the two had been divorced for almost twenty years. Most of her
ex‐husband’s time as a reserve officer was before their marriage, and, as
she saw it, his only connection to these cases was his “shared employment
status many years ago with individuals [now] accused of wrongdoing.”
App. Vol. IX at 79 (Seabolt); App. Vol. VII at 51 (Tyson); App. Vol. X at 63


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(Robinson); see also Supp. App. Vol. IV at 18 (Dillard) (taking judicial
notice of and incorporating the court’s orders in Seabolt and Tyson).

   As to her comments that Royer’s allegations of systemic police
corruption were “defamatory,” the judge explained that the petitioners
misunderstood her statements. She explained that her remarks in Royer’s
case had nothing to do with the merits of that case but with Royer’s
attorney’s professional conduct. She believed the attorney’s remarks at the
press conference violated Indiana Rule of Professional Conduct 3.6(a)
because “they inaccurately stated the law as it existed at that time.” App.
Vol. IX at 25 (Seabolt); Supp. App. Vol. IV at 20 (Dillard); App. Vol. IV at 8
(Tyson); App. Vol. X at 60 (Robinson). And, she says, reprimanding a
lawyer for what the court concluded was misconduct does not, on its own,
mean the judge was biased.

   After denying the requests to recuse, the judge certified each order for
interlocutory review, and the Court of Appeals accepted jurisdiction. In
each case, the Court of Appeals affirmed with reasoning that largely
tracked the judge’s reasons for denying the recusal requests. Seabolt v.
State, No. 22A‐PC‐208, at *30–34 (Ind. Ct. App. Sept. 20, 2023) (mem.);
Dillard v. State, 222 N.E.3d 338, 354–57 (Ind. Ct. App. 2023); Tyson v. State,
217 N.E.3d 551, 568–70 (Ind. Ct. App. 2023); Robinson v. State, 218 N.E.3d
17, 30–31 (Ind. Ct. App. 2023).

   Now, the petitioners seek transfer, which we grant, thereby vacating
the Court of Appeals’ decision in each case. Ind. Appellate Rule 58(A).


Discussion and Decision
   A fair and effective judicial system requires judges who are in fact
impartial and who are perceived by the public to be impartial. See S.E. v.
State, 929 N.E.2d 1281, 1287–88 (Ind. 2010); see also Ind. Judicial Conduct




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Rule 2.4, cmt. 1. With that in mind, we impose on judges two competing
duties—a duty to preside and a duty to recuse.3

   The default is the duty to preside. Judges are presumed unbiased, and
they are required to preside over cases duly assigned to them unless their
recusal is mandatory. Zavodnik v. Harper, 17 N.E.3d 259, 269 (Ind. 2014).
That duty not only promotes efficiency by spreading cases more evenly
among judges and avoiding a subsequent judge needlessly duplicating the
work of a previous judge, but it also promotes public trust in our judicial
system. Jud. Cond. R. 2.7, cmt. 1. Without the duty to preside, the system
may appear too easily gamed. Some judges might avoid difficult or
controversial cases, and the parties may seem able to delay cases unfairly
through judicial disqualification or to steer their cases to judges they
perceive as more favorable. See id.; see also Richard E. Flamm, Judicial
Disqualification: Recusal and Disqualification of Judges 15 (3d ed. 2017)
(“Conversely, if removing a judge were to be made too simple, both the
cost of seeking justice and the delay in obtaining justice would likely soon
become intolerable.”).

   But just as important as the duty to preside is its built‐in exception:
judges cannot preside over cases when recusal is mandatory. Zavodnik, 17
N.E.3d at 269. And recusal is mandatory when either a judge subjectively
doubts their impartiality, Voss v. State, 856 N.E.2d 1211, 1220 (Ind. 2006),
or, even if they don’t, when an objective observer, familiar with all the
relevant circumstances, would have a reasonable basis for doubting the
judge’s impartiality, Timberlake v. State, 753 N.E.2d 591, 610 (Ind. 2001).

    These four interlocutory appeals require us to explore the interplay
between the duty to preside and the duty to recuse. The petitioners argue
that because the judge concluded in Royer’s case that her duty to preside
had to give way to her mandatory recusal based on concerns about her
impartiality that persist in these cases, she should have recused in these
cases too. In response, the State argues that each case must be evaluated




3In this context, we use the terms “recuse” and “disqualify” interchangeably. Ind. Judicial
Conduct Rule 2.11, cmt. 1.


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on its own terms, and a judge who recuses in one case isn’t forever bound
to reach the same conclusion in future cases, lest judges face too strong a
disincentive to recuse at all. Viewed in isolation from the Royer recusal,
the State doesn’t believe any of these cases require recusal.

   Below, we lay out the standards governing recusal decisions. And as
we explain, once a judge concludes their recusal is mandatory, they must
continue recusing in future cases when confronted with the same concern
that led them to recuse in the prior case. That is, unless their prior recusal
was mistaken or circumstances have changed so that their recusal is no
longer mandatory, in which case they again have a duty to preside.

     In the end, we agree with the petitioners that our holding requires us to
reverse the decision declining to recuse in each case. The judge’s
determination that recusal was mandatory in Royer’s case would lead an
objective observer to reasonably question the judge’s impartiality in these
cases because the petitioners raised the same concerns as Royer; there is
no suggestion that the judge’s prior recusal was mistaken; and there has
been no change in circumstances making recusal no longer mandatory.


I.     Recusal Standards

       A. Post‐Conviction Rule 1(4)(b)

    The petitioners moved for a change of judge under Post‐Conviction
Rule 1(4)(b). That rule requires a petitioner seeking a change of judge to
file an affidavit stating “the facts and the reasons” leading the petitioner to
believe “the judge has a personal bias or prejudice against” them. Ind.
Post‐Conviction Rule 1(4)(b). The judge must treat the affidavit’s
“historical facts” as true, Pruitt v. State, 903 N.E.2d 899, 939 (Ind. 2009)
(quotations omitted), and if they “support a rational inference of bias or
prejudice,” then the judge must grant the motion, P‐C.R. 1(4)(b). (The
Code of Judicial Conduct imposes the same standard, requiring judges to
disqualify themselves “in any proceeding in which the judge’s
impartiality might reasonably be questioned.” Jud. Cond. R. 2.11(A).)
Since we require the judge to accept the affidavit’s historical facts as true,

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we also require the petitioner’s attorney—an officer of the court with a
duty of candor to the tribunal—to certify that the attorney has a good‐
faith belief that the facts are true. P‐C.R. 1(4)(b); Brown v. State, 746 N.E.2d
63, 70 (Ind. 2001) (“All attorneys are officers of the legal system and have a
duty of candor toward tribunals.”). Although judges accept the historical
facts as true, judges “are not required to disqualify themselves as a result
of a litigant’s unfounded accusations, abusive tactics, or attempts to
manipulate the system.” Zavodnik, 17 N.E.3d at 269.

   The rule only requires recusal for a “personal” bias or prejudice, P‐C.R.
1(4)(b), which is one that “stems from an extrajudicial source—meaning a
source separate from the evidence and argument presented at the
proceedings,” Lambert v. State, 743 N.E.2d 719, 728 (Ind. 2001). A judge is
not personally biased or prejudiced merely because they have formed
judgments about proceedings over which they have presided. After all,
that is their job.

  For example, after hearing the evidence in a criminal trial, a judge may
“be exceedingly ill[‐]disposed towards the defendant, who has been
shown to be a thoroughly reprehensible person.” Id. at 729 (quotations
omitted). Since the judge derived that knowledge and opinion from the
court proceedings, weighing those considerations when sentencing the
defendant does not reflect any improper bias or prejudice. Id. Likewise,
recusal is not required simply because the judge’s opinion is based on
prior proceedings over which they presided because, again, the opinion
does not derive from an extrajudicial source. Id. Thus, for example, a post‐
conviction judge need not recuse merely because the judge presided over
the related trial. Id. at 730.

   When a judge is considering whether there is “a rational inference of
bias or prejudice,” P‐C.R. 1(4)(b), they must evaluate whether “an
objective person, knowledgeable of all the circumstances, would have a
reasonable basis for doubting the judge’s impartiality,” Timberlake, 753
N.E.2d at 610 (quotations omitted). “This obligation to disqualify exists
notwithstanding a judge’s earnest, subjective belief that he or she is fully
able to perform judicial duties without bias or prejudice.” Voss, 856 N.E.2d
at 1220. An objective evaluation reflects that “justice must satisfy the


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appearance of justice.” Offutt v. United States, 348 U.S. 11, 13 (1954). Of
course, even if there is no objective appearance of bias or prejudice, a
judge must still recuse if they subjectively believe they may not be fair and
impartial. Voss, 856 N.E.2d at 1220 (“A judge must of course disqualify
from a case upon realizing that the judge’s own personal beliefs, values, or
opinions are impairing his or her impartiality.”).


      B.    Standard of Review

   When our appellate courts review a judge’s decision not to recuse, we
begin by presuming the judge is not biased, Lambert, 743 N.E.2d at 728,
and we use the same standard of review under Post‐Conviction Rule
1(4)(b) as we use under Criminal Rule 2.4(B) (formerly Criminal Rule
12(B)4) because the rules use similar language, Sturgeon v. State, 719 N.E.2d
1173, 1181–82, 1182 n.5 (Ind. 1999). The parties agree with that much, but
they disagree about which standard those rules require, although really,
they just have different ways of saying the same thing.

   We’ve said that under both Post‐Conviction Rule 1(4)(b) and Criminal
Rule 2.4(B) we review for clear error, Azania v. State, 778 N.E.2d 1253, 1261
(Ind. 2002), so that is the standard the State urges us to apply. But when
explaining that standard, we’ve also said that a motion for change of
judge “calls for a legal determination” and the relief is “neither automatic
nor discretionary,” Sturgeon, 719 N.E.2d at 1181 (quotations omitted). We
generally review legal conclusions de novo, so the petitioners urge de
novo review rather than clear error review. Horton v. State, 51 N.E.3d 1154,
1157 (Ind. 2016).

   Further to the petitioners’ point, Post‐Conviction Rule 1(4)(b) requires
the judge to treat the historical facts in the petitioner’s affidavit as true.
Pruitt, 903 N.E.2d at 939. And when judges reach legal conclusions based
on undisputed facts or facts they must assume true—like when deciding a




4Effective January 1, 2024, Criminal Rule 12(B) was amended and renumbered as Criminal
Rule 2.4(B).


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Trial Rule 12 motion to dismiss or a Trial Rule 56 summary judgment
motion—we generally review those decisions de novo. Safeco Ins. of Ind. v.
Blue Sky Innovation Grp., Inc., 230 N.E.3d 898, 901 (Ind. 2024) (motion to
dismiss); Performance Servs., Inc. v. Randolph E. Sch. Corp., 211 N.E.3d 508,
511 (Ind. 2023) (summary judgment).

    We can reconcile the notion that we are reviewing a legal determination
with a “clear error” standard of review by, as the State correctly explains,
invoking our precedent that misapplying the law to properly found facts
is clear error, “and in that situation we do not defer to the trial court.”
State v. Van Cleave, 674 N.E.2d 1293, 1296 (Ind. 1996). So even though the
two sides affix different labels—the petitioners call our review “de novo”
and the State calls it “clear error”—both sides appropriately agree we
don’t afford any deference to the judge’s evaluation of whether an
objective observer would reasonably doubt the judge’s impartiality based
on the facts that the judge must accept as true.

   In these cases, there is no material dispute about the facts that the judge
had to accept as true. Instead, the disagreement is how to apply the legal
standard to the facts, assessing whether an objective person,
knowledgeable of all the circumstances, would have a reasonable basis for
doubting the judge’s impartiality in these cases. We turn to that
assessment next.


II. Application of Standards in These Cases
   The petitioners here all asked the judge to recuse for largely the same
two reasons Royer did, and they believe their arguments are even stronger
than Royer’s. Because the judge granted Royer’s motion, and because we
see no reason for treating these cases differently, we conclude that the
judge was required to recuse in these cases too.


      A. Royer’s Motion

  To recap, Royer’s two reasons for asking the judge to recuse were: (1)
she was too deeply entangled in the evidence, and (2) the judge already


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expressed an opinion on the merits of his claim without hearing evidence
when she described his attorney’s comments as “defamatory.”

   Critical here, the judge granted Royer’s motion for recusal. She didn’t
explain her recusal decision when she made it, but she had a duty to
remain on the case unless recusal was mandatory. So we understand her
decision to mean she concluded she needed to recuse. Zavodnik, 17 N.E.3d
at 269 (explaining that “judges have an affirmative duty to preside over
cases unless disqualification is mandatory”). And recusal was only
mandatory in Royer’s case if (a) the judge subjectively believed she could
not be fair and impartial, Voss, 856 N.E.2d at 1220, or (b) “an objective
person, knowledgeable of all the circumstances, would have a reasonable
basis for doubting the judge’s impartiality,” Timberlake, 753 N.E.2d at 610
(quotations omitted). By recusing, the judge necessarily concluded either
she could not be impartial, or that her connections to the allegations and
witnesses in the case and/or her prior statement about Royer’s allegations
would lead an objective observer to reasonably doubt her impartiality.


      B.    Petitioners’ Arguments

   The petitioners here contend that Royer’s two successful arguments are
even stronger in their cases. They argue the judge’s entanglement with the
petitioners’ evidence has only deepened. Not only will they, like Royer,
call many witnesses who were the judge’s former colleagues to prove
systemic misconduct that the petitioners allege spanned the judge’s own
time as a deputy prosecutor, they now intend to at least seek discovery
from the judge, and they may call her as a witness. They also intend to call
as witnesses two of her Elkhart County judicial colleagues and her ex‐
husband.

   The petitioners also argue that the other reason Royer proposed for
recusal—the judge’s characterization of his theory of the case as
“defamatory”—persists in these cases as well, which they believe is
especially problematic because the judge is the fact finder. See Hadler v.
Union Bank &amp; Tr. Co. of Greensburg, 765 F. Supp. 976, 979 (S.D. Ind. 1991)
(explaining that recusal obligations become “incrementally more stringent
when the judge becomes the fact‐finder”). The State acknowledges that

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these petitioners allege the same systemic misconduct leading to what
they characterize as an epidemic of wrongful convictions that Royer
alleged. Appellee’s Br. at 19 (“Just as in Royer, Petitioners assert a similar
claim alleging a systemic failure of the EPD and ECPO resulting in their
wrongful convictions.”).

   For example, like Royer, they all allege Brady violations. Seabolt and
Dillard, like Royer, allege that members of the Elkhart Police Department
fabricated witness statements. Seabolt, Dillard, and Robinson allege that
the police department and prosecutor’s office failed to disclose significant
disciplinary history of the detectives who led the investigations of their
cases, just as Royer claimed. Robinson alleges that the same prosecutor
failed to disclose evidence of the same significant disciplinary history of
the same officer that Royer alleged. And also like Royer, Dillard and
Tyson allege that the State failed to disclose evidence of alternate suspects
in their cases.


      C. Judge’s Reasons for Declining to Recuse

   Having recused in Royer’s case, the petitioners argued the judge should
recuse in their cases too. But she declined, and the State agrees with that
decision. As for her relationships with the likely witnesses, the judge
concluded that the mere fact that she previously served as a deputy
prosecutor working with the witnesses does not require her to recuse from
post‐conviction proceedings challenging the convictions her former office
secured, especially because she was not involved in prosecuting any of
these petitioners. She found it inconsequential that the petitioners would
be calling as witnesses two of her Elkhart County judicial colleagues
because they do not preside in her court. And she concluded her ex‐
husband’s involvement as a witness in these cases did not require recusal
because they had been divorced for almost twenty years; most of his time
as a reserve officer was before their marriage; and she believed his only
connection to these cases was his “shared employment status many years
ago with individuals accused of wrongdoing.” App. Vol. IX at 79
(Seabolt); App. Vol. VII at 51 (Tyson); App. Vol. X at 63 (Robinson); see also



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Supp. App. Vol. IV at 18 (Dillard) (taking judicial notice of and
incorporating the court’s orders in Seabolt and Tyson).

   As for her statement that Royer’s allegations of systemic abuse were
“defamatory,” she explained the petitioners misunderstood what she was
saying. She says she wasn’t expressing an opinion about whether Royer’s
allegations were true. She was instead explaining that the statements
Royer’s attorney made at the press conference violated Indiana Rule of
Professional Conduct 3.6(a) because “they inaccurately stated the law as it
existed at that time.” App. Vol. IX at 25 (Seabolt); Supp. App. Vol. IV at 20
(Dillard); App. Vol. IV at 8 (Tyson); App. Vol. X at 60 (Robinson). And, she
says, reprimanding a lawyer for what the court concluded was
misconduct does not, by itself, mean the judge was biased.


      D. Applying an Objective Observer Standard to These
         Cases

   We agree with the broad propositions that the judge stated and that the
State argues. The mere fact that a judge previously served as a prosecutor
or deputy prosecutor does not mean they must recuse from all cases
involving their former office or people they worked with in that office. See
Rankin v. State, 563 N.E.2d 533, 536 (Ind. 1990) (holding that the defendant
was not entitled to a change of judge where the trial judge was a former
prosecutor who signed the information alleging a felony that was the basis
for a habitual offender finding because there was no factual dispute about
the prior conviction); Dishman v. State, 525 N.E.2d 284, 285 (Ind. 1988)
(holding that the defendant was not entitled to a change of judge where
the trial judge was a former prosecutor who secured convictions
underlying a habitual offender finding because there was no “factual
contesting” of the prior convictions); Broome v. State, 687 N.E.2d 590, 596–
97 (Ind. Ct. App. 1997) (holding that the defendant was not entitled to a
change of judge where the judge, as a former prosecutor, hired, trained,
and supervised the prosecutor on the defendant’s case and had counseled
and trained many local law enforcement officers), summarily aff’d in
relevant part by 694 N.E.2d 280, 281 (Ind. 1998); see generally Wayne R.



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LaFave et al., 6 Crim. Proc. § 22.4(c) n.46 (4th ed. 2023) (collecting
authority).

   Relatedly, “[t]he fact that an adjudicator happens to be socially
acquainted or even friends with a party, attorney, witness or other
person” does not, by itself, “ordinarily supply a litigant with a cognizable
basis for questioning the ability of that judge to be impartial in presiding
over that proceeding.” Flamm, supra, at 461; accord L.G. v. S.L., 88 N.E.3d
1069, 1073 (Ind. 2018) (“Just as ‘friendship’ alone may not be enough to
require recusal (in some cases, it could be), neither does professional
admiration always demand recusal.”). The State is also correct that our
trial courts must “routinely sit[ ] in [judgment] of allegations that the
prosecutors and/or the police in their county have committed some act or
omission that renders evidence inadmissible or jeopardizes the validity of
a conviction,” and those judges should not recuse merely because they
have worked in some capacity with those prosecutors or officers before.
Appellee’s Br. at 26. And we agree with the judge and the State that a
judge’s statement that counsel’s conduct in a case over which the judge is
presiding violates the Rules of Professional Conduct does not, by itself,
require recusal either. See State ex rel. Allen v. Carroll Cir. Ct., 226 N.E.3d
206, 217–18 (Ind. 2024) (holding that the judge’s conclusion that counsel’s
representation reflected “gross negligence” did not require recusal
(quotations omitted)).

   But these appeals can’t be decided on those broad propositions. What is
different about these appeals—and this is critical to our holding—is that
the judge already decided in Royer’s case that recusal was mandatory. So
while viewing each of the petitioners’ various concerns in isolation may
not warrant recusal, the judge herself already concluded that their
overarching concerns about her entanglement with the evidence and her
remark about their attorney’s comments do require recusal. And an
objective observer who knows the judge previously concluded she had a
duty to recuse could thus reasonably doubt her impartiality in these cases.
That objective observer could reasonably ask: What changed since the
judge decided she was required to recuse in Royer’s case? And the record
does not reveal a good answer.


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   Indeed, the judge’s orders in these cases acknowledge they should be
consistent with one another. The order in Tyson explained that the judge
rejected the same arguments for recusal in Robinson, and “[a]ssuredly, the
outcome should be the same here.” App. Vol. VII at 46. In Robinson, the
judge said the court “summarily adopts its previous findings in Tyson and
Seabolt that this Court’s prior employment does not create a question of
impartiality such that the Court should be expected to recuse in this case.”
App. Vol. X at 62. And in Dillard, the judge took judicial notice of the
Tyson and Seabolt orders and incorporated their reasoning. Supp. App.
Vol. IV at 18.

   We agree that recusal decisions should be consistent, and that is the
problem with declining to recuse in these cases after deciding that recusal
was mandatory in Royer’s case. Of course, a prior recusal decision matters
only when a later case presents the same material concerns. So, for
example, a judge’s recusal from a case involving a party the judge
previously represented in the same or a related matter does not
necessarily require the judge to recuse from another “factually and legally
unrelated proceeding” involving that same party. Mathews v. State, 64
N.E.3d 1250, 1256 (Ind. Ct. App. 2016), trans. denied. But the petitioners
here did all present the same material concerns that led the judge to recuse
in Royer’s case.

  And to be sure, the State is correct that a judge’s decision to recuse in
one case does not mean the judge is locked into that position and must
forever recuse whenever related circumstances arise again. The passage of
time, reconsideration of the prior recusal decision, or other new
considerations may reasonably lead the judge to decide not to recuse in a
later case that presents circumstances related to a prior recusal. For
example, personal animosity between a judge and an attorney may
dissipate over time, making it appropriate for the judge to recuse from the
attorney’s earlier cases but not later ones. See Selkridge v. United of Omaha
Life Ins., 360 F.3d 155, 170 (3d Cir. 2004) (“We further agree with Judge
Moore that the passage of time does, indeed, heal wounds, and we do not
mean to suggest that it is not presently appropriate for him to sit on cases
involving Attorney Rohn.”). As another example, while there is no
presumption of bias when a former law clerk or law partner appears

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before a judge, “some judges have informally adopted a policy of recusing
themselves from all such matters for a period of time.” Flamm, supra, at 477
(emphasis added). But even though a judge recuses in some cases
involving those colleagues, the judge may reasonably conclude that
enough time has passed that recusal is no longer appropriate. Id. at 471
(“Judges have sometimes recused themselves in such situations – at least
for a certain period of time following their ascension to the bench.
However, a judge is not necessarily disqualified from presiding over
matters involving her former legal colleagues after that time period has
expired.”).

   Here, there is no suggestion that the judge’s recusal in Royer’s case was
mistaken. That was not a case where the judge was merely a former
coworker of deputy prosecutors and law enforcement officers in the case
before her. The many witnesses who were her former colleagues would be
providing evidence related to Royer’s allegations of systemic police and
prosecutorial misconduct that he claimed covered the judge’s own time in
the prosecutor’s office. And an objective observer could reasonably
consider that context when interpreting the judge’s remark that the
comments by Royer’s attorney about alleged systemic misconduct were
“defamatory.” See Thakkar v. State, 644 N.E.2d 609, 611 (Ind. Ct. App. 1994)
(reversing a criminal sentence based on the judge’s decision declining to
recuse after making remarks “clearly bring[ing] into question the trial
court’s objectivity in the matter”).

   There is also no evidence in the record before us of changed
circumstances since the judge concluded she needed to recuse in Royer’s
case based on the same concerns the petitioners raise here, other than
circumstances that further weigh in favor of recusal. Cf. Selkridge, 360 F.3d
at 170 (holding that a trial judge “cannot, without explanation,” recuse
from one group of cases while, at the same time, declining to recuse “in
another group of cases that appears indistinguishable for purposes of
recusal”). Most importantly, the judge’s entanglement with the evidence
has only deepened. And even if those new developments do not
independently warrant recusal, they do nothing to eliminate the concerns
that led the judge to recuse in Royer’s case.


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   The judge dismissed the argument that her recusal in Royer’s case
should compel her to recuse in these cases too by saying she only recused
in Royer’s case to “cure any lingering concerns.” App. Vol. IX at 28
(Seabolt); App. Vol. IV at 10 (Tyson). But she did not explain what those
lingering concerns were and why they no longer linger. Nor is it apparent
to us. So an objective observer could reasonably persist in doubting the
judge’s impartiality in these cases based on her own conclusion in Royer’s
case that there were reasonable questions about her impartiality.

  Thus, the judge needed to continue recusing in these cases until there
was some change in circumstances that would no longer lead an objective
observer to reasonably question her impartiality.


Conclusion
   For these reasons, we reverse the trial court’s order denying the
petitioner’s motion for recusal in each case and remand with the
instruction to grant the motions.




Rush, C.J., Massa and Goff, JJ., concur.
Slaughter, J., not participating.




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ATTORNEYS FOR APPELLANT IRIS SEABOLT
Jimmy Gurule
Kevin J. Murphy
Exoneration Justice Clinic
Notre Dame Law School
South Bend, Indiana

Elliot Slosar
The Exoneration Project
Chicago, Illinois

Robert Hochman
Sidley Austin LLP
Chicago, Illinois

ATTORNEYS FOR APPELLANT REGINALD DILLARD
Jimmy Gurule
Kevin J. Murphy
Exoneration Justice Clinic
Notre Dame Law School
South Bend, Indiana

Elliot Slosar
The Exoneration Project
Chicago, Illinois

ATTORNEYS FOR APPELLANT LEON TYSON
Mark A. Bates
Law Offices of Mark A. Bates
Highland, Indiana

Jimmy Gurule
Kevin J. Murphy
Exoneration Justice Clinic
Notre Dame Law School
South Bend, Indiana

Elliot Slosar
The Exoneration Project
Chicago, Illinois

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Robert Hochman
Sidley Austin LLP
Chicago, Illinois

ATTORNEYS FOR APPELLANT PINK ALLEN ROBINSON
Jimmy Gurule
Kevin J. Murphy
Exoneration Justice Clinic
Notre Dame Law School
South Bend, Indiana

Elliot Slosar
The Exoneration Project
Chicago, Illinois

Robert Hochman
Sidley Austin LLP
Chicago, Illinois

ATTORNEYS FOR APPELLEE STATE OF INDIANA
Theodore E. Rokita
Kelly A. Loy
Office of the Attorney General
Indianapolis, Indiana




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